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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-461V
                                      Filed: March 18, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
DONALD HARRIS,                               *
                                             *             Special Master Hamilton-Fieldman
              Petitioner,                    *
                                             *             Joint Stipulation on Damages;
v.                                           *             Influenza (“Flu”) Vaccine;
                                             *             Guillain-Barré syndrome (“GBS”).
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
              Respondent.                    *
* * * * * * * * * * * * * * * *
John Howie, Jr., Howie Law, P.C., Dallas, TX, for Petitioner.
Amy Kokot, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

        On May 6, 2015, Donald Harris (“Petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccine administered on October 2, 2012 3 caused him
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 Petitioner has had inconsistent allegations regarding the date of administration of the relevant
vaccine. See Petition (alleging that the flu vaccine was administered on October 12, 2012);
Amended Petition (alleging that the vaccine was administered on October 12 and/or October 2).
The parties’ stipulation and the vaccine record reflect that October 2, 2012 is the accurate date.
See Petitioner’s Exhibit 2 at 1.

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to suffer from Guillain-Barré syndrome (“GBS”).

        On March 17, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccination
administered on or about October 2, 2012 is the cause of Petitioner’s alleged GBS and/or any
other injury or his current condition. However, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $150,000.00 in the form of a check payable to Petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amounts for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 4

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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